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1               UNITED STATES DISTRICT COURT
2              NORTHERN DISTRICT OF CALIFORNIA
3                   SAN FRANCISCO DIVISION
4
5    -------------------------
6    ORACLE AMERICA, INC.,              )
7           Plaintiff,                  )
8    vs.                                ) No. CV 10-03561 WHA
9    GOOGLE, INC.,                      ) VOLUME I
10          Defendant.                  )
11   -------------------------
12
13         HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15          Videotaped Deposition of ROBERT VANDETTE,
16          taken at 42 Chauncy Street, Boston,
17          Massachusetts, commencing at 10:02 a.m.,
18          Wednesday, September 7, 2011, before
19          Jill Shepherd, RPR, MA-CSR No. 148608,
20          NH-CSR No. 128, CA-CSR No. 13275, CLR,
21          and Notary Public.
22
23
24
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 1     preserve the objection. I don't believe            1   Q. All I asked if you see this third line, and
 2     this was produced to Oracle, but perhaps you       2     if you understand what it seems to be
 3     can confirm that after this deposition and         3     saying. I'm not asking if you agree with
 4     we can take it off line.                           4     it.
 5   Q. Are you familiar -- have you seen this            5   A. I do not agree with --
 6     presentation before?                               6            MS. AGRAWAL: You've got to let me
 7   A. (Witness reviewing document).                     7     object. The court reporter has to be able
 8           MS. AGRAWAL: Objection. Form.                8     to take it down. Sorry.
 9           MR. FRANCIS: I would note that               9          Objection. Form.
10     this presentation is cited in Oracle's claim      10   A. I do see it and I do not agree with it.
11     charts.                                           11   Q. Have you run any tests to determine what
12           MS. AGRAWAL: The video?                     12     percentage of the time the CPU spends
13           MR. FRANCIS: So you should be               13     executing byte codes as opposed to natively
14     familiar with it.                                 14     compiled code?
15           MS. AGRAWAL: The video or the               15            MS. AGRAWAL: Objection. Form.
16     actual presentations?                             16   A. I have performance analysis in the past on
17           MR. FRANCIS: Both, I believe.               17     our own virtual machines, and it very much
18           MS. AGRAWAL: All right. Let's               18     depends on the byte codes and the program
19     take it off line.                                 19     that you are running whether it spends
20   A. (Witness reviewing document).                    20     little or a lot of time in the JIT -- or in
21         I may have seen a presentation similar        21     executing byte codes, I'm sorry.
22     to this. I can't confirm that this is the         22   Q. Maybe we can clarify just a little bit.
23     exact content that I have seen or whether I       23          Your performance report is measuring
24     read through the entire presentation.             24     the performance of the Dalvik Virtual
25   Q. Okay. Just for a second, jump to slide 11,       25     Machine, but not Android operating system
                                               Page 42                                                  Page 44

 1     there's a diagram that's labeled "Dalvik           1     overall --
 2     Trace JIT Flow"?                                   2            MS. AGRAWAL: Objection. Form.
 3   A. Okay.                                             3   Q. -- is that correct?
 4   Q. Have you seen this before?                        4            MS. AGRAWAL: Objection. Form.
 5   A. No, I have not.                                   5   A. It's difficult to answer that question
 6   Q. Now looking at slide five, the third point        6     because the Dalvick Virtual Machine is part
 7     that's listed here, it says, "Typically,           7     of the Android operating system, so which
 8     less than a third of time spent in the             8     part are you --
 9     interpreter."                                      9   Q. Is it part of the prior Android operating
10         Do you see that?                              10     system?
11   A. This is very subjective.                         11            MS. AGRAWAL: Objection. Form.
12         Doing what?                                   12   A. My report states that I disabled much of the
13   Q. Do you understand generally what it means?       13     Android platform so the CPU was available
14     I'm not asking if you agree, but do you           14     for executing these benchmarks, so...
15     understand what it's saying here?                 15   Q. In a normal environment, is much of the
16   A. I would just like to come to your point --       16     Android platform disabled?
17            MS. AGRAWAL: Objection. Form.              17            MS. AGRAWAL: Objection. Form.
18   A. -- with the data on this slide that shows        18   A. In the normal Android platform, there is
19     that running the checkers, that you're            19     many Dalvick Virtual Machines running, which
20     running 93 percent of the time in JIT code        20     could have interfered with my results.
21     cache. So you are using almost 100 percent        21   Q. In a normal environment, is there anything
22     of the CPU when you are running checkers, so      22     other than a Dalvik Virtual Machine running
23     how do you conclude, then, that one-third of      23     on the Android operating system?
24     the time you are, on average, in                  24            MS. AGRAWAL: Objection. Form.
25     interpreter?                                      25   A. It's running on top of the Linux kernel, but
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 1   Q. I'm not asking you for a specific number.         1   A. It would impact the results potentially,
 2     Give me a general ballpark figure.                 2     since I'd be adding additional functionality
 3           MS. AGRAWAL: Objection. Form.                3     to Dalvick that it doesn't currently have.
 4   A. You are asking me to describe changes or          4   Q. It would, however, be technically possible
 5     incremental performance improvements in            5     for someone to do so?
 6     groups that I really wasn't involved in.           6           MS. AGRAWAL: Objection. Form.
 7   Q. Turning to page eight, paragraph 28 of your       7   A. Let's see. It may be technically possible
 8     report, you discuss the modifications that         8     to build a system that does quickening
 9     you made to conduct your experiments; is           9     without side tables, but it would involve
10     that correct?                                     10     adding additional overhead that Dalvick
11   A. Yes.                                             11     doesn't currently have.
12   Q. And you created these modifications based on     12   Q. In paragraph 36, you state that you did not
13     what you were told by Professor Mitchell and      13     try running the trace compiler; is that
14     Peter Kessler; is that correct?                   14     correct?
15           MS. AGRAWAL: Objection. Form.               15   A. Oh, paragraph -- sorry. That is correct,
16   A. Yes. We discussed the functionality, and         16     for the same reason that we didn't do the
17     Peter I both looked through the sources to        17     quickening alone.
18     try to find out how to properly disable this      18   Q. What is the trace compiler?
19     functionality, and we came to a consensus.        19           MS. AGRAWAL: Objection. Form.
20   Q. It appears that you attempted two out of         20   A. That is Dalvick's implementation of a JIT.
21     three possible scenarios here?                    21   Q. Are you saying that for your performance
22   A. That's correct.                                  22     benchmark regarding the '104 patent you had
23           MS. AGRAWAL: Sorry, objection.              23     to disable the JIT?
24     Form.                                             24           MS. AGRAWAL: Form.
25   Q. The first scenario in paragraph 28 is            25   A. That's correct.
                                               Page 82                                                  Page 84

 1     building side tables, but not quickening           1   Q. Do you understand that the JIT is not part
 2     instructions, and the second scenario is not       2     of the accused functionality of the '104
 3     building side tables or quickening                 3     patent?
 4     instructions; is that correct?                     4            MS. AGRAWAL: Objection. Form.
 5   A. That's correct.                                   5   A. I'm not certain that it isn't somehow
 6   Q. Is there a third possibility of not building      6     involved in some of the claims, but we
 7     side tables, but building quickening               7     focused on turning off the functionality in
 8     instructions?                                      8     a mode that was possible.
 9            MS. AGRAWAL: Objection. Form.               9   Q. If, in fact, JIT is not part of the accused
10   A. The quickening was dependent upon the side       10     functionality, then wouldn't disabling it
11     table for its implementation in order to          11     affect the performance of this benchmark?
12     avoid, you know, any possible error in the        12            MS. AGRAWAL: Objection. Form.
13     results. We did not want to substantially         13   A. I do believe that the numbers would be
14     modify Dalvick in order to try to attempt         14     slightly different; however, the overhead of
15     that. We wanted to restrict our changes to        15     having to re-resolve all of the classes,
16     just simple commenting out of code that           16     fields, and methods is a fixed overhead that
17     would provide the before and after.               17     the JIT could not compensate for. So I
18   Q. So if it got too complicated, you did not        18     believe the performance reduction or
19     attempt it?                                       19     degradation would still be substantial.
20            MS. AGRAWAL: Objection. Form.              20   Q. Despite fixed overhead, you are referring to
21   A. It's not an issue of complication. It's an       21     other aspects of the benchmarking programs
22     issue of possibly altering the Dalvick to         22     might execute faster if the JIT was enabled;
23     the point where I wouldn't be measuring what      23     is that correct?
24     I wanted to measure.                              24            MS. AGRAWAL: Objection. Form.
25   Q. It would be --                                   25   A. They would be severely diminished by the
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 1     JIT compiler?                                     1     -Xint:fast mode and the -Xint:jit mode for
 2           MS. AGRAWAL: Objection. Form,               2     the interpreter versus the JIT-enabled
 3     beyond the scope.                                 3     results.
 4   A. I understand that HotSpot method-based JIT       4   Q. Paragraph 49, you say, "These tests show the
 5     compiler and Android is a trace-based JIT         5     performance difference that JIT provides
 6     compiler.                                         6     above and beyond interpreter only"; is that
 7   Q. If Android was using a method-based JIT          7     correct?
 8     compiler, is it your belief that it would         8   A. Yes.
 9     infringe the patent?                              9   Q. Is the accused functionality the entire JIT
10           MS. AGRAWAL: Objection. Form,              10     or only a specific portion within the JIT?
11     beyond the scope.                                11           MS. AGRAWAL: Objection. Form.
12   A. You'd have to show me and my team the           12   A. As I understand it, it's the technique used
13     implementation in order to determine that.       13     to store the results of the JIT and such.
14   Q. Does HotSpot practice -- strike that.           14     If you are unable to store the results of
15          Does the HotSpot Just-In-Time compiler      15     the trace JIT, you wouldn't have a JIT;
16     practice the '205 patent?                        16     therefore, disabling the JIT is comparable
17           MS. AGRAWAL: Objection. Form,              17     to disabling the patent.
18     beyond the scope.                                18   Q. Are there other ways to store the results of
19   A. It's my understanding that this patent was      19     the JIT?
20     issued around the time of early Java, but we     20           MS. AGRAWAL: Objection. Form,
21     had alternative -- we had a -- you know, a       21     beyond the scope.
22     pre-computer HotSpot compiler, so it's hard      22   A. I don't know. You are asking: Are there
23     to say. My guess, I would believe it would.      23     other ways to store the results that are not
24   Q. The current HotSpot Just-In-Time compiler       24     infringing? Is that what you are asking me?
25     practices the '205 patent?                       25   Q. I'm asking you: Is the only way to
                                              Page 98                                                 Page 100

 1            MS. AGRAWAL: Objection. Form,              1     implement a JIT is by using the '205 patent?
 2     beyond the scope, and calls for a legal           2           MS. AGRAWAL: Objection. Form,
 3     conclusion.                                       3     beyond the scope.
 4   A. From my understanding, I believe it does.        4   A. I don't know.
 5   Q. Did you try comparing the performance of a       5   Q. If there was a way to implement a JIT
 6     current HotSpot Just-In-Time compiler with        6     without practicing the '205 patent, would it
 7     one that existed before the '205 patent?          7     make sense to benchmark the performance
 8            MS. AGRAWAL: Objection. Form,              8     between that JIT and the current Android JIT
 9     beyond the scope.                                 9     that Oracle alleges infringes the '205
10   A. From my report, I measured the current          10     patent?
11     HotSpot implementation.                          11           MS. AGRAWAL: Objection. Form,
12   Q. Looking at page 18 of your report, the chart    12     beyond the scope.
13     here is entitled "Android CaffeineMark JIT       13   A. You are asking me to speculate on something
14     Improvement Results."                            14     which I have already stated that I don't
15         Does this reflect the difference             15     know how you would do. So, again, the
16     between running Android with and without a       16     answer is, I don't know.
17     JIT?                                             17   Q. In paragraph 53, you say, "Before starting
18            MS. AGRAWAL: Objection. Form.             18     each benchmark run, the script cleans out
19         I also just note for the record that         19     the dalvik-cache."
20     we produced this to Google in color, and so      20         Do you see that?
21     this isn't the original that was -- the          21   A. Yes.
22     report wasn't what was given to Google; but      22   Q. What is in the dalvik-cache?
23     you can answer the question.                     23           MS. AGRAWAL: Objection. Form.
24   A. The command that I used to execute is in the    24   A. The dalvik-cache contains an optimized
25     report. It's on paragraph 49. I used             25     version of the dex file, and if you run --
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